          Case 1:20-vv-01347-UNJ Document 27 Filed 03/03/22 Page 1 of 2




    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                        No. 20-1347V
                                       UNPUBLISHED


    ELIZABETH ADAMS,                                        Chief Special Master Corcoran

                        Petitioner,                         Filed: January 27, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Jeremy Fugate, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

       On October 8, 2020, Elizabeth Adams filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (SIRVA) resulting from an influenza (flu) vaccine she received on October
18, 2017. Petition at 1. Petitioner further alleges that the vaccination was administered
within the United States, her injuries lasted for more than six months, and neither she,
nor any other party, has ever received any compensation in the form of an award or
settlement for Petitioner’s vaccine-related injuries. Petition at 1,3. The case was assigned
to the Special Processing Unit of the Office of Special Masters.



1
 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If , upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:20-vv-01347-UNJ Document 27 Filed 03/03/22 Page 2 of 2




       On January 14, 2022, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Respondent determined that Petitioner suffered a SIRVA of the left shoulder as defined
by the Vaccine Injury Table. Id. at 4. Specifically, Respondent found that “[P]etitioner had
no recent history of pain, inflammation, or dysfunction of her left shoulder; the onset of
pain occurred within 48 hours after receipt of an intramuscular vaccination; the pain was
limited to the shoulder where the vaccine was administered; and, no other condition or
abnormality, such as brachial neuritis, has been identified to explain petitioner’s left
shoulder symptoms.” Id. Respondent concluded that Petitioner has satisfied all legal
prerequisites for compensation under the Vaccine Act.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




                                             2
